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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                               Case No. 22-mj-480 (DTS)

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
                      Plaintiff,                 )
                                                 )   ORDER FOR DETENTION
               v.                                )
                                                 )
 JULIEN JEROME RODGERS,                          )
                                                 )
                      Defendant.                 )

       This matter came before the Court on June 6, 2022, for an identity, removal, and

detention hearing following Defendant Julien Jerome Rodgers’s arrest in the District of

Minnesota pursuant to an indictment returned against him in the District of North Dakota.

Mr. Rodgers appeared in custody and was represented by Assistant Federal Defender

Manny Atwal. The United States of America was represented by Assistant United States

Attorney Jordan L. Sing.

       Mr. Rodgers consented to holding the hearing via Zoom teleconference due to the

ongoing realities of the COVID-19 pandemic. The Court advised Mr. Rodgers of some of

his constitutional rights, including the right to consult with his appointed counsel, and of

the procedural posture of this matter. See Fed. R. Crim. P. 5(c)(3), (d). Mr. Rodgers

ultimately elected to waive the issues of identity and removal, while reserving the issue of

detention until his arrival in the District of North Dakota.

                FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.     On or about April 21, 2022, a grand jury in the District of North Dakota

returned an indictment against Mr. Rodgers and several co-defendants. The Indictment
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charges Mr. Rodgers with conspiracy to possess with intent to distribute a controlled

substance.

       2.     Pursuant to Rule 5(c)(3)(D), Fed. R. Crim. P., Mr. Rodgers knowingly and

voluntarily waived the issues of identity and removal.

       3.     As to detention, Mr. Rodgers elected to reserve the issue until his arrival in

the District of North Dakota.

       4.     The charges in this matter carry a rebuttable presumption of detention

pending trial. 18 U.S.C. § 3142(e)(3)(A). Based on the defendant’s waiver, he elected not

to meet his burden at this time. Id. Accordingly, the defendant will be detained for

additional proceedings in the District of North Dakota.

                                          ORDER

       Accordingly, based on all the files, records, and proceedings, IT IS HEREBY

ORDERED:

       1.     The motion of the United States for detention is GRANTED;

       2.     Mr. Rodgers is committed to the custody of the United States Marshals for

transport and confinement in a correctional facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal;

       3.     Mr. Rodgers shall be afforded reasonable opportunity to consult privately

with his lawyer; and

       4.     Upon order of the Court or request by the United States Attorney, the person

in charge of the correctional facility in which Mr. Rodgers is confined shall deliver him to


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the United States Marshals for the purpose of appearance in connection with all court

proceedings.

Dated: June 6, 2022                    _s/ John F. Docherty__________
                                       Hon. John F. Docherty
                                       United States Magistrate Judge




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